Case 2:19-cv-00387-JRG Document 108 Filed 03/08/21 Page 1 of 1 PageID #: 6920




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

 SNIK LLC                                         §
                  Plaintiff,                      §
                                                  §
 v.                                               §    CASE NO. 2:19-cv-00387-JRG
                                                  §
 SAMSUNG ELECTRONICS CO., LTD. et al              §
          Defendants.                             §

                                     REPORT OF MEDIATION

        The above-captioned case was mediated via Zoom video conference by David Folsom on

March 2, 2021, between Plaintiff, Snik LLC, and Defendants, Samsung Electronics Co., Ltd. and

Samsung Electronics America, Inc. After additional follow up with the undersigned mediator, the

parties have reached a settlement.

        Signed this 8th day of March 2021.


                                                   /s/ David Folsom
                                                   David Folsom
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                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically in
compliance with Local Rule CV-5(a) on this 8th day of March 2021. As such, this document was
served on all counsel who are deemed to have consented to electronic service. Local Rule CV-
5(a)(3)(A).

                                                   /s/ David Folsom
                                                   David Folsom




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